Case 1:04-cv-OlO75-.]DT-STA Document 68 Filed 06/07/05 Page 1 of 14 Page|D 57

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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EMMANUEL s. TROTTER, ) Q¢'?‘G,p go
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Plaintiff, ) €%%>{S ¢:; .Q
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VS. ) No. 1-04-1075_T-An
)
)
sAMANTHA PHILLIPS, )
JAMES H. sMITH, M.D., and )
CORRECTIONAL MEDICAL )
SERVICES, INC., )
)
Defendants. )

 

ORDER GRANTING DEFENDANT PHILLIPS’ MOTION FOR SUMMARY
IUDGMENT

 

Plaintiff Emmanuel S. Trotter, an inmate at the Northwest Correctional Complex
(“NWCX”), filed a complaint,pro se, pursuant to 42 U.S.C. § 1983 alleging that Det`endants
demonstrated a deliberate indifference to his serious medicals needs by delaying in arranging
and/or providing his prescribed medical care for a complete tear of his right Achilles tendon.
Plaintiff also asserts various state law olaims. Defendants J ames H. Smith and Correctional
Medical Services (“CMS”) filed a motion for summary judgment, Which Was granted
Before the court is Defendant Samantha Phillips’ motion for Summary judgment Plaintiff

did not respond. For the following reasons, Phillip’S motion is GRANTED.

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Case 1:04-cv-OlO75-.]DT-STA Document 68 Filed 06/07/05 Page 2 of 14 Page|D 58

l. Facts

On May l, 2003 , Plaintiff ruptured his right Achilles tendon While playing basketball
at the Northwest Correctional Complex. Plaintiff asked for medical care and was taken to
Baptist Memorial Hospital in Union City, Tennessee on May 6, 2003. Dr. J ames H. Wolfe
performed a magnetic resonance imaging (“M.R.I.”) on Plaintiff`s right lower leg. The
M.R.I. showed a complete tear of Plaintiff”s right Achilles tendon. Dr. J ames H. Smith, a
physician for CMS at NWCX, ordered Plaintiff to be sent to Nashville General Hospital to
treat his injury.] Plaintiff also told Dr. Smith of pain and numbness in his right hand. Dr.
Smith informed Plaintiff that he believed that his pain was caused by a ganglion cyst and
was urgent.

On May 7, 2003, Plaintiffwas taken to Nashville General Hospital and was seen by
Dr. Mauro Giordani.2 Plaintiff was given the choice of surgery to repair his tendon;
however, he elected to enter non'operative treatment Plaintiff was advised that even if the

prescribed treatment was executed properly, there Would be a risk of poor healing, re-

 

l Pursuant to TDOC Policy # 113.12, a “[c]onsulation by a physician specialist or other
health professional, as well as any prescribed treatment, shall be made available when it is
determined that an inmate requires specialty care beyond the training or expertise of the
institutional health care staff or institutional resources.”

2 At Nashville General Hospital, Plaintiff was supposed to be treated for both the
ganglionic cyst and the Achilles tendon, however, Plaintiff`s Achilles tendon Was the only issue
discussed. Aff. of Emmanuel S. Trotter, at 2. Plaintiff complained of Wrist discomfort on June
12, 2003, July 15, 2003, August 4, 2003, and August 9, 2003; however, in Plaintiff’s response
opposing surnrnaryjudgment, he admitted that he refused medical treatments related to his
ganglionic cyst. Plaintiff’s Summary Judgment Response, at 6; Aff. of Emmanuel S. Trotter, at
2.

Case 1:04-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 3 of 14 Page|D 59

rupture, and re-tear under a non-operative method of treatment Plaintiff’ s prescribed
treatment involved putting his leg in a cast and gradually changing his casts so that his foot
Would be moved into the neutral position. The initial cast was to start at Plaintiff’s hip and
extend to his foot. After three weeks, or around May 28, 2003, the initial cast was to be
shortened below the knee. His foot would then be pulled up to the neutral position for the
next six weeks.

On July 9, 2003, Plaintiff was taken to Nashville General Hospital to have his initial
cast shortened. Plaintiff' s cast was replaced by a short-leg plantar flexed cast. Plaintiff was
returned to NWCX with a medical order to return in three weeks for further treatment

Plaintiff's initial cast was on his leg for a total of nine weeks. Phillips, an employee
of Northwest Community Services Agency as the Health Administrator for NWCX, stated
that the delay was caused by a “delay in forwarding the appropriate paperwork to facilitate
the return specialist visit, which has resulted in the full cast staying on longer than originally
intended. This paperwork was forwarded on 6.17.03 and a request for urgent appointment
was included.” Letter from Samantha Phillips, June 26, 2003. Although Phillips wrote the
letter to Plaintiff, she states that she played no role in facilitating transfers, consultation
visits, or care, other than to supervise the employees Who coordinate the transfers and
consultation visits. Aff. of Samantha Phillips at 11 1-2. In addition, she states that she has
no authority to order a patient transferred for a consultation to an outside physician. Aff. of

Samantha Phillips at 11 1-2. Phillips states that she has no direct patient care responsibilities

Case 1:04-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 4 of 14 Page|D 60

and is neither a nurse nor a doctor. Aff. of Samantha Phillips at 11 l. Finally, Phillips states
that she has never provided patient care for Plaintiff and that she has never spoken to or
corresponded with Plaintiff--with the exception of the June 26‘h letter. Aff. of Samantha
Phillips at ll l-2.

A return visit to Nashville General Hospital was ordered the day after Phillips wrote
the letter, however, Plaintiff did not return until July 9, 2003. During this nine-week period,
Plaintiff complained to the clinic at NWCX of extreme pain, swelling, and Stiffness in his
right knee and foot. Plaintiff also complained of difficulty holding his crutches because of
the pain caused by the ganglionic cyst in his wrist and he stated that he fell due to the
numbness in his hand.

On July 22, 2003, Plaintiff complained of pain and swelling above and/or around the
right knee and a knot in his upper right thigh. Sarah Quintere, L.P.N. at NWCX, observed
that the area around Plaintiff’s right knee was extremely painful to the touch and
recommended alternating applications of heat and ice packs.

On July 28, 2003, Plaintiff was called to the clinic at NWCX and was reassessed by
Amanda Collins. Collins noted that Plaintiff had complained of a knot in his thigh since his
cast was shortened, he had tenderness in his upper leg and knee area. Collins also
recommended alternating heat and ice applications

On August 6, 2003, Plaintiff was returned to Nashville General Hospital. Plaintiff" s

shortened leg brace Was removed and he was placed in a walker brace for a recommended

Case 1:04-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 5 of 14 Page|D 61

six weeks.

On Au gust 22, 2003 , Plaintiff returned to the clinic at NWCX and complained of pain
and swelling in the right knee. Plaintiff was prescribed Ibuprofen to reduce pain and
swelling. Plaintiff later complained that the Ibuprofen Was ineffective and was switched to
Naproxen. The prescription stated that the medication was only to be taken with meals but
did not instruct Plaintiff as to how much or how often it should be taken. Plaintiff later
reported problems of severe abdominal pain, dizziness, and bloody bowel movements as a
result of taking Naproxen. Plaintiff was prescribed other medications to help with any side
effects that may have been caused by the Naproxen.

On August 29, 2003, Plaintiff signed an against medical advice document, which
stated that he refused to be transferred back to Deberry Special Needs Facility. He was
subsequently transferred back to Nashville General Hospital.

Plaintiff filed this suit claiming violation of his Eighth Amendment right to be free
from cruel and unusual punishment as well as various state law claims. Plaintiff states that
as a result of Defendants’ deliberate indifference to is medical needs, he has suffered
increased pain and suffering and new debilitating injuries to his right knee and foot. Aff.

of Ernmanuel S. Trotter, at 3.

Case 1:04-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 6 of 14 Page|D 62

II. Summary Judgment Standard

Motions for summary judgment are governed by Fed. R. Civ. P. 56. If no genuine
issue of material fact exists and the moving party is entitled to judgment as a matter of law,
summary judgment is appropriate Fed. R. Civ. P. 56(0). The moving party may support the
motion for summary judgment with affidavits or other proof or by exposing the lack of
evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but must go beyond the pleadings and “by affidavits or as otherwise provided
in this rule, must set forth specific facts showing that there is a genuine issue for triai.” Fed.

R. Civ. P. 56(e); see also _Qelotex Corp., 477 U.S. at 323.

 

“If the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support ofthe plaintiffs
position will be insufficient; there must be evidence on which the j ury could reasonably find
for the plaintif .” Anderson v. Libegy Lobby, Inc., 477 U.S. 242, 252 (1986). However,
the court’s function is not to weigh the evidence, judge credibility, or in any way determine
the truth of the matter but only to determine whether there is a genuine issue for trial. Id. at
249. Rather, “[t]he inquiry on a summary judgment motion . . . is . . . ‘Whether the evidence
presents a sufficient disagreement to require submission to a [trier of fact] or whether it is

so one-sided that one party must prevail as a matter of law. ”’ Street v. J.C. Bradford & Co.,

 

886 F.2d 1472, 1479 (6th Cir. 1989) (quoting Anderson, 477 U.S. at 251-52). Doubts as to

Case 1:04-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 7 of 14 Page|D 63

the existence of a genuine issue for trial are resolved against the moving party. Adickes v.

S. H. Kress & Co., 398 U.S. 144, 158-59 (1970).

III. Eleventh Amendment lmmunity
Phillips first argues that summary judgment should be granted because the Eleventh
Amendment to the United States Constitution, the doctrine of sovereign immunity, and
Article l, § 17 of the Tennessee Constitution bar any § 1983 claim made against her in her
official capacity.
The Eleventh Amendment provides a state, and its agencies and departments, with

immunity from suits brought in federal court by its own citizens as well as by citizens of

another state. Pennhurst State Sch. and Hosp. v. Halderman, 465 U.S. 89, 100 (1984);
Employees v. Missouri Dept. ofPub. Health and Welfare, 411 U.S. 279, 280 (1973). There

are exceptions to this general rule where Congress statutorily abrogates Eleventh
Amendment immunity through clear and unmistakable language, Atascadero State Hosp_. v.
M, 473 U.S. 234, 242 (1985), and where a state expressly waives its sovereign
immunity by specifying its intention to subject itself to suit in federal court. _qu4 at 241;
Pennhurst, 465 U.S. at 90. With regard to actions under § 1983, the Supreme Court has held
that the statute does not abrogate the Eleventh Amendment immunity of the states and their

agencies and departments Quern v. Jordan, 440 U.S. 332, 340-45 (1979). In addition,

Tennessee has not waived its sovereign immunity with respect to suits under § 1983. w

Case 1:04-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 8 of 14 Page|D 64

Berndt v. State of Tennessee, 796 F.2d 879, 881 (6th Cir. 1986); Gross v. University of
Tennessee, 620 F.2d 109, 110 (6th Cir. 1980); American Civil Liberties Union v. State of
Tennessee, 496 F. Supp. 218, 220 (M.D. Tenn. 1980). Further, suits against state officials
in their official capacities are, in essence, suits against the state itself. Will v. Michigan
Dept. of State Police, 491 U.S. 58 (1989); Kentucky v. Graham, 473 U.S. 159, 165-66
(1985); Brandon v. Holt, 469 U.S. 464, 471 (1985). Tennessee statute defines an employee
of a community service agency as a “state employee.” Tenn. Code Ann. § 8-42-101(3)(A).

In the present case, Plaintiff‘s claims for damages is against Phillips, an employee of
the Northwest Community Services Agcncy as a Health Administrator of NWCX, in her
official capacity. The Northwest Community Services Agency is a community services
agency, thus, Plaintiff is a “state employee” as defined by Tenn. Code Ann. § 8-42-
101(3)(A). As such, Phillips is entitled to Eleventh Amendment immunity from Plaintiffs

§ 1983 claim.

IV. Eighth Amendment Claim
Plaintiff claims that Defendants violated his Eighth Amendment right to be free from
cruel and unusual punishment because they acted with deliberate indifference to his serious
medical needs by intentionally causing a delay in the execution of his prescribed medical
treatment Phillips argues that she is entitled to judgment as a matter of law because: (1)

Defendants were not deliberately indifferent to Plaintiff" s medical needs, and (2) she played

Case 1:04-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 9 of 14 Page|D 65

no role in treating Plaintiff or arranging for his health care,
1. Deliberate Indifference
The Eighth Amendment prohibits cruel and unusual punishment See generally
Wilson v. Seiter, 501 U.S. 294 (1991). The Eighth Amendment proscription on cruel and
unusual punishment prohibits prison authorities from displaying deliberate indifference to
the serious medical needs of prisoners, because such indifference constitutes the
"unnecessary and wanton infliction of pain." Estelle v. Gamble, 429 U.S. 97, 104 (1976).
“[D]eliberate indifference to one’s needs for medical attention suffices for a claim under 42
U.S.C. § 1983.” Blackmore v. Kalamazoo Co., 390 F.3d 890, 895-86 (6th Cir. 2004). The
test to determine whether Defendants acted with “deliberate indifference” has an objective
and subjective component _S_ee Brown v. Bargery, 207 F.3d 863, 867 (6th Cir. 2000).
The objective component requires an inmate to show that the alleged
deprivation is “sufficiently selious.” As the Supreme Court explained in
Farmer, “The inmate must show that he is incarcerated under conditions
posing a substantial risk of serious harm.” To satisfy the subjective
component, an inmate must show that prison officials had “a sufficiently
culpable state of mind.”
ld_. (citing Farmer v. Brennan, 511 U.S. 825, 834 (1994)). “This subjective component
should be determined in light of the prison authorities’ current attitudes and conduct
Deliberate indifference entails something more than mere negligence, but can be satisfied
by something less than acts or omissions for the very purpose of causing harm or with

knowledge that harm will result.” Blackmore, 390 F.3d at 896-97 (citations omitted); §_e_e

Helling v. McKinney, 509 U.S. 25, 36 (1993); Farmer, 511 U.S. at 83 5, 837. “Knowledge

 

9

Case 1:O4-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 10 of 14 Page|D 66

of the asserted serious needs or of circumstances clearly indicating the existence of such
needs, is essential to a finding of deliberate indifference.” Horn v. Madison Co. Fiscal
Q_ou_rt, 22 F.3d 653, 660 (6th Cir. 1994).
a. “Sufficiently seiious” medical need
In the present case, Plaintiff has failed to demonstrate that the alleged deprivation was
sufficiently serious. Plaintiff admits that he received treatment for his torn Achilles tendon,
thus, he has failed to allege that he was deprived of medical care, Within one week of his
injury, Plaintiff was seen by the clinic at NWCX, referred to an off-site specialist to treat his
injury, and had an M.R.I. taken of his right leg. Plaintiff was given the option of surgery or
a non-operational method to heal his injury and chose the non-operative method while fully
aware of potential complications Further, Plaintiff presented evidence that complications
related to his treatment were addressed by the clinic at NWCX. He was given medications
and Was advised to apply heat and ice packs to reduce swelling and he was allowed to use
the handicap showers. Finally, Plaintiff refused certain medical services. As a result,
Plaintiff fails to satisfy the objective component because he did not suffer from a serious
medical need.
b. “Sufficiently culpable state of mind“
Plaintiff has also failed to demonstrate that Defendants had a sufficiently culpable
state of mind. Plaintiff received medical care for his torn Achilles tendon and, while he may

be dissatisfied with the quality of care that he received, the treatment provided by

10

Case 1:O4-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 11 of 14 Page|D 67

Defendants did not fall below the applicable standard of care, Although Defendants did
delay in ordering Plaintiff to return to Nashville General Hospital to have his initial cast
removed, Plaintiff has failed to present any evidence that Defendant was more than merely
negligent This is a case in which Plaintiff merely disagrees with the treatment which he
received. Such disagreement between Plaintiff and a medical practitioner as to the level of
care required generally is insufficient to establish the deliberate indifference required for an
Eighth Amendment violation. §§ Estelle v. Gamble, 429 U.S. 97, 107 (1976).

Where a prisoner has received some medical attention and the dispute is over

the adequacy of the treatrnent, federal courts are generally reluctant to second

guess medical judgments and to constitutionalize claims which sound in state

tort law.

Westlake v. Lucas, 537 F.2d 857, 860 n.5 (6th Cir. 1976). As such, Plaintiff has not satisfied

the subjective component of the Farmer test

 

As to Phillips’ involvement in Plaintiff’s treatment, Plaintiff has failed to establish
that Phillips had a sufficiently culpable state of mind. Phillips was a Health Administrator
for NWCX. Phillips states that her position does not involve any patient care
responsibilities She states that she does not receive orders from physicians or facilitate
inmate transfers or consultation visits. Phillips maintains that her role is only supervisory
In addition, Phillips states that she played no role in Plaintiff’ s treatment with the exception
of responding to his grievance on one occasion. Consequently, Plaintiff has failed to
establish that Phillips had the requisite state of mind in regard to delaying his treatment

Because Plaintiff has failed to establish that Phillips’ conduct met the deliberate

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Case 1:O4-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 12 of 14 Page|D 68

indifference standard, Phillips is entitled to judgment as a matter of law as to Plaintiff`s

Eighth Amendment claim.

V. State Law Claims

Plaintiff asserts state law claims of medical malpractice/battery, intentional infliction
of emotional distress, negligent infliction of emotional distress, gross negligence, and
negligence Under certain circumstances, a federal district court may decline supplemental
jurisdiction over a state law claim even if jurisdiction would otherwise be proper. Pursuant
to 28 U.S.C. § 1367(0):

The district courts may decline supplemental jurisdiction over a claim under

subsection (a) if_

(3) the district court has dismissed all claims over which it
has original jurisdiction,....

§ 1367(0)(3). As summary judgment has been granted in favor of Phillips on Plaintiff’s §

1983 claim, the court declines to accept supplemental jurisdiction over Plaintiff’ s state law

claims.

VI. Conclusion
For the foregoing reasons, Phillips is entitled to immunity under the Eleventh
Amendment Assuming that Phillips were not immune, however, she is entitled to judgment
as a matter of law on Plaintiff’ s Eighth Amendment claim. ln addition, Plaintiff`s state law

claims are dismissed pursuant to 28 U.S.C. § 1367(0)(3). Finally, because all Defendants

12

Case 1:O4-cv-01075-.]DT-STA Document 68 Filed 06/07/05 Page 13 of 14 Page|D 69

have been dismissed from this case, all in limine motions filed in conjunction with this case
are also dismissed The clerk shall enter judgment in accordance with this order.

IT IS SO ORDERED.

AQ»M

JA S D. TODD
ED STATES DISTRICT JUDGE

 

13

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 1:04-CV-01075 was distributed by fax, mail, or direct printing on
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EssEE

 

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Honorable James Todd
US DISTRICT COURT

